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Anthony G. Thomas fh"-i`%g ‘ `=E-CD
7725 Peavine Peak Court ,
Reno, N\/ 89523 ZiliBOCT -l» Pl‘l 3~ 148
Te|: (408)640-2795 . ,. rt

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Debtor ln Propria Persona

UN|TED STATES BANKRUPTCY COURT
DlSTR|CT OF NEVADA - RENO
Case No. BK-N-14-50333-BTB
Case No. BK-N- -B 1145635\
(Jointly Administered)
CHAPTER 7

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ANTHONY THOl\/lAS and
WEND| THOl\/lAS
AT El\/lERALD, LLC
Debtors.
Date: October 19th 2018
Time: 10:00 a.m.

Judge: Hon. Bruce T. Beesley
Courtroom: 2

 

STATUTORY BASlS OF MOT|ON

This l\/lotion is brought pursuant to Federal Ru|es of Evidence Ru|e 201 as well
as under both the Federal Common law as well as the State of California’s Laws
regarding Judicia| Notice as codified under California’s Evidence Code Sections 450-
459 inclusive. |n addition, Debtor requests that the Court take notice of the learned
treatise on Judicial Notice attached as Exhibit 9 filed on 9-5-2018, and the specific
requests regarding Exhibit 9 for the Court to take judicial notice of as requested on the
28 page PROPOSED Order filed on 9-28-2018 as DE 411.

Debtor submitted and filed 17 Exhibits on 9-5-2018 and an additional 10 exhibits
on 9-13-2018. Debtor is filing additional Exhibits as noted on the Declaration of

Anthony Thomas filed concurrently With this l\/lemorandum. Debtor has requested that

 

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the Court take notice of Adjudicative Facts under FRE 201 as well as Judicial Notice of
the Law governing Turnover l\/lotions as well as California Law regarding the transfer of
real estate by Deed and the validity of the transfer where the Deed is neither
acknowledged or recorded, neither of which affect the validity of the transfer

Under FRE 201, adjudicative facts not subject to reasonable dispute include
taking notice of the text and existence of State Court opinions. ln 2002, the United
States Court for the Southern District of New York held:

“Friedman has requested that the Court take judicial notice of two state
law opinions__

A Federal court must take judicial notice of adjudicative facts upon the
request of a party if supplied with the information that the fact is not
subject to reasonable dispute and is either generally known in the
jurisdiction or capable of accurate and ready determination See Jacques
v. U.S. R.R. Ret/rement Bd. 736 F.2d. 34, 40 (2d Cir. 1984); 17 Vistas
Assocs. v. City of New York, No. 95 Civ. 3870, 1996 WL 197762, *3
(S.D.N.Y. April 23, 1996)

("[S]tate court opinions may properly be considered pursuant to Rule 201,
Fed.R_Evid.");

Commonwea/th of Pennsy/van/'a v. Brown, 373 F.2d 771, 778 (3rd Cir.1967).

Fridman v. City of New York (2002) 183 F_ Supp. 2d 642

Additionally, the U.S. Supreme Court has held that Federal courts are bound to
take notice of the laws of every state.

“The circuit courts of the United States are created by congress, not for

the purpose of administering the local law of a single state alone, but to

administer the laws of all the states in the union, in cases to which they

respectively apply.”

Owings v. Hull (1835) 34 U.S. 607 at 625.

The Supreme Court of the United states also held:

“The law of any State of the Union, whether depending upon statutes or

upon judicial opinions, is a matter of which the courts of the United States

are bound to take judicial notice, without plea or proof. Ow/ngs v. Hu//, 9

Pet. 607, Pennington v. G/`bson, 16 How. 85, Covington Drawbr/'dge Co.

\/. Shepherd, 20 How. 227'l

Lamar v. l\/licou (1885) 114 U.S. 218 at 223

 

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As such, Debtor respectfully requests that this Court take Judicial Notice of the
judicial opinions filed as Exhibits to the l\/lotion for Judicial Notice on 9-5-2018 as DE
395 and 395-1 respectively, as well as the judicial opinions regarding the impropriety of
using the Turnover |\/lotion procedure when title is in dispute that were filed with this
Court as DE 406 on 9-13-2018.

The other items that the Debtor is requesting that the Court take judicial notice of
are the requests for this Court to take judicial notice of Adjudicative Facts.

A|| of the requests for Judicia| Notice are requested specifically in the
[PROPOSED] Order of the Court taking Judicial Notice of the Law and the Facts filed
with this Court as DE 411. Each Exhibit is identified in the table, referencing the Docket
Entry and the page numbers as indicated in the ECF Docket entries on the Pacer
system. Underneath each Exhibit is a number of Requests numbered beginning with
the letter R, followed by the specific request for Judicia| Notice being made, referencing
the page number(s) if applicable, and finally containing a column with two check boxes,
the first for Y or YES, and the second for N or NO as to whether the Court does or does
not take judicial notice of the specific Request.

Debtor contends that each of the Exhibits submitted is relevant to the
determination of the propriety of the Turnover l\/lotion under the facts presented and to
the issues as to whether the Trustee has complied with the requirements under the law
to prevail under the Turnover l\/lotion procedure under the specific facts of the case.

Debtor respectfully requests that this Court take Notice of all of the enumerated
and numbered requests as submitted on the 28 page PROPOSED ORDER as filed with
this Court, and to also take Notice of the newly filed Exhibits filed concurrently with this

l\/lemorandum.

 

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Dated: October 4th 2018. Respectfully submitted,

 

 

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